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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    YELLOW CORPORATION, et al.,1                             Case No. 23-11069 (CTG)

                              Debtors.                       (Jointly Administered)


                           APPLICATION OF JASON W. HARBOUR
                      TO APPEAR PURSUANT TO LOCAL RULE 9010-1(e)(ii)

             I, Jason W. Harbour, a Partner with Hunton Andrews Kurth LLP, respectfully request the

approval of this Court to appear in the above-captioned cases on behalf of A. Duie Pyle, Inc.

pursuant to Rule 9010-1(e)(ii) of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”). Local Rule 9010-

1(e)(ii) provides that “[a]ttorneys who are admitted to the Bar of the District Court and in good

standing, but do not maintain an office in the District of Delaware, may appear on behalf of parties

upon approval by the Court.” Del. Bankr. L.R. 9010-1(e)(ii).

             I am admitted to and in good standing with the Bar of the United States District Court for

the District of Delaware. I do not maintain an office for the practice of law in the District of

Delaware. My office is located in Richmond, Virginia, at the address indicated below.

             I respectfully request that the Court enter the proposed order, attached here as Exhibit A

approving my appearance in these proceedings pursuant to Local Rule 9010-1(e)(ii).




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
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Dated: November 8, 2023            Respectfully submitted,

                                   /s/ Jason W. Harbour
                                   Jason W. Harbour (No. 4176)
                                   HUNTON ANDREWS KURTH LLP
                                   Riverfront Plaza, East Tower
                                   951 East Byrd Street
                                   Richmond, Virginia 23219
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                                   Counsel for A. Duie Pyle, Inc.




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    YELLOW CORPORATION, et al.,1                             Case No. 23-11069 (CTG)

                             Debtors.                        (Jointly Administered)


                 ORDER APPROVING APPEARANCE OF JASON W. HARBOUR
                   TO APPEAR PURSUANT TO LOCAL RULE 9010-1(e)(ii)

             This matter coming before the Court upon the application of Jason W. Harbour of Hunton

Andrews Kurth LLP to appear in the above-captioned cases on behalf of A. Duie Pyle, Inc.

pursuant to Rule 9010-1(e)(ii) of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”); and the Court

having reviewed the application and determined that the relief sought is appropriate; it is hereby

             ORDERED, that Jason W. Harbour may appear in the above-captioned cases pursuant to

Local Rule 9010-1(e)(ii).

             ORDERED, that Jason W. Harbour may file pleadings and other papers and take all other

actions as counsel in the above-captioned cases.




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
